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                          Julius M. Cruz, CSB #246135
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                      2   Fresno, CA 93721
                          Phone: (559) 266 – 9800
                      3   Fax: (559) 266 – 3421
                          Counsel for DIMAS DOMINGUEZ
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                      7                                      IN THE UNITED STATES DISTRICT COURT FOR THE
                      8                                              EASTERN DISTRICT OF CALIFORNIA
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                                                                                       ) Case Nos.: 1:11 – CR – 0274 – LJO
                     10   UNITED STATES OF AMERICA,                                    )
                     11                                               Plaintiff,       ) ORDER
                                                                                       )
                     12                            v.                                  )  DATE:        _9/2/11____________
                                                                                       )  TIME:        _9:00 a.m.___________
SAWL LAW GROUP
2150 TULARE STREET
 FRESNO, CA 93721




                     13   DIMAS DOMINGUEZ,                                             )  DEPT:        _4_________________
                     14                                               Defendant.       )
                                                                                       )
                     15                                                                )
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                                                   NOTICE is hereby given that DIMAS DOMINGUEZ substitutes JULIUS M. CRUZ as
                     18
                          counsel of record in place of KATHERINE HART (see previously filed Substitution of Attorney form
                     19
                          signed and dated by all parties).
                     20
                     21
                                                   The substitution of attorney is hereby approved and so ORDERED.
                     22
                     23
                     24
                     25   IT IS SO ORDERED.
                     26
                                                Dated:   August 31, 2011                      /s/ Lawrence J. O’Neill
                     27                                                                    UNITED STATES DISTRICT JUDGE
                          DEAC_Signature-END:




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                                                                                   [PROPOSED] ORDER
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 FRESNO, CA 93721




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                                                          [PROPOSED] ORDER
